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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO

 IN RE:                                               CHAPTER 7

 ANGELINA A. MITCHELL                                 CASE NO. 21-00086-JMM

                          Debtor.


 RESPONSE TO TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTION

       NOW COMES the debtor, Ms. Mitchell, by and through her attorney, and files this

Response to the Trustee’s Amended Objection to the Claim of Exemption which was filed on July

27, 2021 (Dkt. No. 32). The chapter 7 trustee objects to the debtor’s homestead exemption pursuant

to Idaho Code §55-1003 in the amount of $175,000 on the debtor’s residence which is located at

7933 W. Sonara Rd, in Caldwell, Idaho.

                                       Trustee’s Objection

       The trustee asserts that the debtor’s automatic homestead exemption fails because the

Sonara Rd residence is not the debtor’s “principal residence” since the debtor also maintains an

apartment in Meridian, Idaho. The trustee contends the Sonara Rd property is not the debtor’s

“principal residence” for a litany of reasons including: (1) the debtor doesn’t make the mortgage

payments on the Sonara Rd property; (2) the apartment address was listed as the mailing address




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on the petition; (3) the debtor testified at her first 341 meeting that she spent 12 days a month at

the apartment and more than 50% of the time at the second 341 meeting; (4) the debtor is not listed

on the mortgage statement dated 3/18/2021; (5) the debtor has had the apartment for ten years; (6)

the debtor is not listed on the utility bills; and (7) the debtor is not listed on the Gem County Tax

Statement for the property. The trustee’s argument fails because Ms. Mitchell established an

automatic homestead in the Sonara Rd residence in August 2017 and she has not abandoned the

property since that time.

                                            Background

       Ms. Mitchell first rented the Meridian apartment in 2011. She signed yearly leases for the

apartment until 2017. When the debtor’s apartment lease expired on or about June 2017, she ceased

signing yearly leases. In 2016 the debtor, her daughter Misha, and Misha’s fiancé Timothy, began

building the home located at 7933 W. Sonara Rd in Caldwell, Idaho and construction on the home

finished in 2017. The debtor, together with Misha and Timothy, moved into the property on August

4, 2017. In 2016 when the parties applied for an FHA-backed 30-year mortgage with a construction

loan rider, the debtor contributed the 3.5% down payment required for the mortgage which totaled

$7,557.38. The debtor signed the promissory note and the deed of trust associated with the loan.

       On or about October 6, 2017 the debtor, together with Misha and Timothy, applied for the

Owner Occupied Residential Exemption (the homeowners exemption) with the Gem County

Assessor. The debtor certified that she was an owner and that she was occupying the 7933 W.

Sonara Rd. property as her primary dwelling as of August 4, 2017. The form was signed by the

debtor, Misha, and Timothy. A true and correct copy of the Homeowners Exemption Application

is attached hereto as Exhibit “A.” The residence located at 7933 W. Sonara Road has been the




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debtor’s primary residence since August 4, 2017 and she has not abandoned the homestead nor

vacated it for a period of six months or longer.

       On or about August 22, 2019, the debtor, Misha, and Timothy refinanced the loan to obtain

a better interest rate. The debtor signed the promissory note and the deed of trust in favor of

Nationstar d/b /a Mr. Cooper. A true and correct copy of the 2019 promissory note and deed of

trust are attached hereto as Exhibit “B”. The debtor has always been insured as a homeowner of

the Sonara Rd. property. Attached hereto as Exhibit “C” is a true and correct copy of the 2020-

2021 Allstate Policy Declaration that was in effect on the petition date.

       The debtor also used the Sonara Rd address as her mailing address through the date of

filing. The credit card statements attached to proofs of claim no. 2 (Discover Bank), 3 (Citi Card),

4 (Citi Card), 8 (Chase), 9 (Chase), and 10 (Lowe’s) all demonstrate that the debtor used the Sonara

Rd. address as her mailing address for her bills. Attached hereto as Exhibit “D” are the relevant

portions of proofs of claim no. 2,3,4,8, 9 and 10. The debtor has never filed a change of address

form with the post office or with her creditors.

       The debtor is 78 years old and has significant medical issues. She is retired. The debtor has

a roster of approximately sixteen specialists that she sees on a regular basis for various conditions.

Her doctors are located in Meridian, Idaho. She is able to drive but only during daylight hours

because she cannot see well enough to drive at night. The distance between the Sonara Rd.

residence and the debtor’s medical providers in Meridian is approximately 37 miles each way

because the debtor does not drive on the interstate. The debtor drives herself to her medical

appointments. The debtor kept her Meridian apartment in order to drive herself to her medical

providers without fear of being stranded in Meridian and not being able to drive back in the dark.

Keeping the Meridian apartment was also more cost-effective compared to medical transport




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services provided by third parties which are not covered by the debtor’s insurance providers. The

Meridian apartment has been leased on a month-to-month basis since June 2017 and treated by the

debtor as a short-term rental. The debtor has not sought to have her interest in the Sonara Rd

residence bought out by either Misha or Timothy since moving into it. Nor has the debtor attempted

to purchase a replacement home.

       When the debtor filed this chapter 7 case on February 18, 2021 she listed the Sonara Rd

residence as the place where she lived. She further listed an ownership interest in the Sonara Rd

residence and claimed a homestead exemption on that interest. She further indicated on the

Statement of Intention her desire to retain the residence.

                                              Analysis

       In Idaho, debtors are permitted to claim an exemption in a qualifying homestead. See Idaho

Code §55-1001 et seq. A homestead exemption is established either automatically, by the debtor’s

occupation of a home as his or her primary residence, or through the debtor’s execution and

recordation with the county of an appropriate declaration. Idaho Code §55-1004(2). Once properly

established, the debtor may exempt up $175,000 in equity in the home. Idaho Code §55-1003.

       The trustee, as the objecting party, bears the burden of proving that the debtor’s claim of

exemption is not proper. In re Younger, 373 B.R. 111, 113 (Bankr.D.Idaho 2007) (citing In re

Kline, 350 B.R. 497, 502 (Bankr.D.Idaho 2005)). The validity of the claimed exemption is

determined as of the petition date and the homestead exemption statutes are to be liberally

construed in favor of the debtor. Id.

       The central issue that this Court must decide is whether this debtor had abandoned the

Sonara Rd property as of the petition date. As this Court noted in Salinas, there are several factors

that must be evaluated when determining whether a debtor has abandoned a homestead. In re




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Salinas, 04.3 I.B.C.R. 110, 112 (Bankr.D.Idaho 2004). First, the Court must consider “the absence

of evidence that the debtor had an actual intent to abandon.” Second, whether the debtor has

demonstrated “an intent not to abandon manifested by the assertion of the exemption in the

bankruptcy schedules.” Id. Lastly, the Court must consider whether the “debtor’s current residence

is in the nature of a short-term rental.” Id.

        In Salinas, the Court was asked to determine whether a debtor’s year-long absence from

the homestead, during which she attempted to reconcile with her husband, resulted in an

abandonment of her homestead. Id at 110. The Court held that Mrs. Salinas had not abandoned her

homestead because she had left her adult sons at the home, continued to receive her mail there,

had left the bulk of her possessions at the home, and also stayed at the home when reconciliation

was not fairing well. Id at 112. Moreover, the debtor’s explanation for the absence – an attempt at

reconciliation – was a reasonable explanation for the move from the homestead to the house she

had rented with her husband. Lastly, the debtor never took any actions that showed she was clearly

repudiating her homestead. Id.

        Similarly, in Millsap, the Court was asked to determine whether a debtor could claim a

homestead exemption in a cabin that he stayed at periodically while the debtor spent the majority

of his time living in an apartment in Spokane to be closer to work. In re Millsap, 91 I.B.C.R. 5

(Bankr.D.Idaho 1991). The Court held that the debtor’s explanation for the absence from the

homestead was reasonable. The Millsap Court explained, “While the debtor and his dependents

occasionally lived elsewhere, he did not intend to abandon the residence as his home, and the

temporary absence from the residence were occasioned by reasonable causes. The absences were

not inconsistent with his right to the specific homestead claimed.” Id at 7. The Court in Millsap




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held that the debtor had a valid homestead exemption in the cabin even though he spent

considerable periods of time elsewhere. Id.

        In re Couch-Russell is another case involving both a homestead property and a rental

property where the Court was asked to determine the validity of the debtor’s claimed homestead

exemption. 03.4 I.B.C.R. 230 (Bankr.D.Idaho 2003). In Couch-Russell, the debtor purchased a

cabin near Smith’s Ferry. Id at 231. Less than a year later she moved into a rental property in

Boise. Id. The debtor and her fiancé lived in the Boise rental to be closer to work and to medical

providers. Id at 233. Debtor testified that she occasionally returned to Smith’s Ferry for weekends

or short visits. Id at 231-32. Additionally, the debtor and her husband commuted from Smith’s

Ferry to Boise and had jobs that allowed them to do so. Id at 234. The debtor also had never put

the Smith’s Ferry property up for sale. Id. On her bankruptcy petition the Debtor claimed a

homestead in the Smith’s Ferry property and a creditor objected. Id. These facts led the court in

Couch-Russell to conclude that the creditor had failed to carry the ultimate burden of proving that

the debtor’s homestead exemption was improper. Id.

        This case falls within the parameters of Millsap, Salinas, Couch-Russell and their

progeny.1The evidence demonstrates that Ms. Mitchell moved into the Sonara Rd. property in

August 2017. She stopped renewing her yearly apartment lease and began treating the apartment

as a short-term rental. She contributed the 3.5% down payment required for the conventional FHA-

backed mortgage. She signed the promissory note and the deed of trust. She moved into the Sonara

road property and she applied and received the homeowners exemption based on her certification

that she was an owner and occupant of the Sonara Rd property. Pursuant to Idaho Code §55-1004




1
 See also In re Jelavich, 02.2 I.B.C.R. 95 (Bankr.D.Idaho 2002), In re Forshee, No. 09-42007-JDP (Bankr.D.Idaho
Sept. 16, 2010), In re Younger, 373 B.R. 111 (Bankr.D.Idaho 2007).


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the automatic homestead exemption arose in the Sonara Rd. property in August 2017 because she

was an owner of the property and because she was occupying it as her principal residence.

       Ms. Mitchell has not abandoned the Sonara Rd property as her homestead. She has not

been absent from the property for a period of six months or longer. In fact, in 2019 she chose to

refinance the mortgage along with Misha and Timothy in order to obtain a better interest rate. She

had the opportunity to remove her name from the loan and the title but did not, which is consistent

with her claim that the Sonara Rd property is her homestead. Moreover, the debtor has always

been insured as an owner of the Sonara Rd property. Additionally, the proofs of claim that have

been filed in this case show that Mrs. Mitchell’s creditors sent her bills to the Sonara Rd address.

       Ms. Mitchell has significant medical issues and her medical providers are located in

Meridian. Ms. Mitchell is 78-years old, is still able to drive during daylight hours, and wishes to

maintain her independence. The apartment allows her to take care of her own medical

appointments and gives her a place to stay if she cannot drive back in the dark. The distance

between the Sonara Rd property and her medical providers in Meridian is 37 miles each way,

which Ms. Mitchell can easily drive during daylight hours but she cannot see to drive that same

road at night. Ms. Mitchell has treated the Meridian apartment as a short-term rental since she

moved into the Sonara Rd property.

       When Ms. Mitchell filed this chapter 7 case, she listed the Sonara Rd property as her

residence. She listed the Sonara Rd residence on Schedule A/B and claimed the homestead

exemption on Schedule C. She listed her mortgage obligation to Mr. Cooper on Schedule D. On

Question 2 of the Statement of Financial Affair she asserted that she had not lived at any other

addresses. Lastly, on the Statement of Intention, Ms. Mitchell indicated that she wanted to retain

the Sonara Rd. property.




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       The debtor’s bankruptcy schedules clearly evidence an intent to not abandon the homestead

in the Sonara Rd residence. The debtor’s Meridian apartment is nothing more than a short-term

rental that helps this debtor independently manage her medical appointments in a cost-effective

manner. The debtor’s desire to manage her own healthcare is a reasonable explanation for the

temporary absence from the homestead and maintaining the apartment on a short-term basis is

more cost-effective than renting a hotel room or using medical transportation services.

       Lastly, there is also no evidence that the debtor had an actual intent to abandon the Sonara

Rd homestead and she has not been away from the property for a period of six months or longer

to trigger the presumption of abandonment. In short, this Court should find that Ms. Mitchell’s

claim of a homestead exemption in the Sonara Rd. residence is valid under this Court’s precedent

in Millsap, Salinas, and Couch-Russell.

                                          CONCLUSION

       For the above-stated reasons the debtor respectfully requests that the Court overrule the

trustee’s objection to her claim of a homestead exemption in the Sonara Rd property. Furthermore,

the Debtor requests an evidentiary hearing at the Court’s earliest convenience.


       Dated: August 4, 2021

                                                         /s/ Alexandra O. Caval
                                                         Attorney for the Debtor




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                               CERTIFICATE OF SERVICE

       I, HEREBY CERTIFY that on August 4, 2021, I filed the foregoing electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

 Office of the U.S. Trustee
 ustp.region18.bs.ecf@usdoj.gov

 Tim Kurtz
 trk@kurtztrustee.com



      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non CM/ECF Registered Participants in the manner indicated:

 Angelina Mitchell                        ___   U.S. Mail
 2462 N Locust Grove Rd                   ___   Hand Delivered
 Meridian, ID 83646                       _X_   Email
                                          ___   Fax


/s/ Alexandra O. Caval
Alexandra O. Caval, Attorney for the Debtor




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